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                   13                               UNITED STATES DISTRICT COURT

                   14                             NORTHERN DISTRICT OF CALIFORNIA

                   15                                    SAN JOSE DIVISION

                   16

                   17   ANDREA M. WILLIAMS AND JAMES                 Case No. 5:19-cv-04700-LHK
                        STEWART, On Behalf of Themselves And All
                   18   Others Similarly Situated,                   DEFENDANT APPLE INC.’S
                                                                     ADMINISTRATIVE MOTION TO FILE
                   19                     Plaintiffs,                UNDER SEAL APPLE INC.’S
                                                                     ADMINISTRATIVE MOTION FOR LEAVE TO
                   20           v.                                   FILE A SUR-REPLY TO PLAINTIFFS’ REPLY
                                                                     IN SUPPORT OF THEIR MOTION FOR
                   21   APPLE INC.,                                  CLASS CERTIFICATION AND RELATED
                                                                     DOCUMENTS
                   22                    Defendant.

                   23                                                Judge:     The Hon. Lucy H. Koh
                                                                     Crtrm:     8, 4th Floor
                   24                                                Date:      March 4, 2021
                                                                     Time:      1:30 p.m.
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ATTORNEYS AT LAW
 SAN FRANCISCO                                                                APPLE’S ADMIN. MOTION TO SEAL ADMIN.
                                                                               MOTION FOR LEAVE TO FILE SUR-REPLY
                                                                                                 19-CV-04700-LHK
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                    1            Pursuant to Northern District of California Civil Local Rules 7-11 and 79-5, Defendant
                    2   Apple Inc. (“Apple”) submits this Administrative Motion to File Under Seal Apple’s
                    3   Administrative Motion for Leave to File a Sur-Reply to Plaintiffs’ Reply in Support of Their
                    4   Motion for Class Certification and Related Documents (“Apple’s Motion to Seal”).
                    5            Apple’s Motion to Seal seeks to seal documents or portions thereof filed in connection with
                    6   Apple’s Administrative Motion for Leave to File a Sur-Reply to Plaintiffs’ Reply in Support of
                    7   Their Motion for Class Certification (“Apple’s Motion for Leave to File Sur-Reply”) that contain
                    8   highly sensitive, non-public, confidential, and proprietary information that has been designated
                    9   “Confidential – Attorneys’ Eyes Only” by Apple pursuant to the terms of the stipulated protective
                   10   order entered by the Court on December 11, 2019 (ECF No. 31, “Protective Order”). Pursuant to
                   11   Civil Local Rule 79-5(d)(1)(A), Apple’s Motion to Seal is supported by the Declaration of Ahmed
                   12   Bashir (“Bashir Declaration”), filed concurrently herewith. In accordance with Rule 79-5(d)(1)(B),
                   13   Apple has also filed concurrently herewith a Proposed Order that is “narrowly tailored to seal only
                   14   the sealable material” and “lists in table format” the sealing and redactions sought.
                   15            As set forth below and in the accompanying Bashir Declaration, Apple proposes narrow
                   16   and tailored redactions to Apple’s Motion for Leave to File Sur-Reply and Exhibit A (“Apple’s
                   17   Sur-Reply”) to the Declaration of Lauren Pomeroy in Support of Apple’s Motion for Leave to File
                   18   Sur-Reply (“Pomeroy Declaration”).1 Apple also requests that the Court seal Exhibits B and C to
                   19   the Pomeroy Declaration in their entirety.
                   20   I.       LEGAL STANDARD
                   21            It is well-settled that the public’s “general right to inspect and copy public records and
                   22   documents” is “not absolute,” and “courts have refused to permit their files to serve . . . as sources
                   23   of business information that might harm a litigant’s competitive standing.” Nixon v. Warner
                   24   Commc’ns, Inc., 435 U.S. 589, 597-98 (1978) (citations omitted). A party may seek to avoid
                   25   disclosure of confidential, proprietary, or otherwise protected documents by moving to file those
                   26   documents under seal. See Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1179 (9th Cir.
                   27   2006). The Ninth Circuit applies two tests to determine whether a party is entitled to file certain
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                            Apple’s proposed redactions are indicated in yellow highlighting.
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                                                                          2              MOTION FOR LEAVE TO FILE SUR-REPLY
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                    1   documents under seal: a “compelling reasons” test for potentially dispositive motions and a “good
                    2   cause” test for motions “not related, or only tangentially related, to the merits of a case . . . .” Ctr.
                    3   for Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1097, 1099 (9th Cir. 2016).
                    4           The Ninth Circuit “has not yet determined whether a motion for class certification is a
                    5   dispositive motion subject to the compelling reasons sealing standard.” Cochoit v. Schiff Nutrition
                    6   Int’l, Inc., 2018 WL 1895695, at *1 (C.D. Cal. Apr. 19, 2018) (internal quotations and citations
                    7   omitted). While Apple believes that the good cause test applies, this Court has observed that “most
                    8   district courts to consider the question have found that motions for class certification are ‘more than
                    9   tangentially related to the underlying cause of action’ and therefore apply the ‘compelling reasons’
                   10   standard” and has likewise applied the compelling reasons standard to motions for class
                   11   certification. Hadley v. Kellogg Sales Co., 2018 WL 7814785, at *2 (N.D. Cal. Sept. 5, 2018)
                   12   (Koh, J.).
                   13           Under the compelling reasons standard, documents can be sealed if they contain “business
                   14   information that might harm a litigant’s competitive standing.” Johnson v. Quantum Learning
                   15   Network, Inc., 2016 WL 4472993, at *2 (N.D. Cal. Aug. 22, 2016) (quoting Nixon, 435 U.S. at
                   16   598); see also id. (finding compelling reasons existed to seal “sensitive financial information . . .
                   17   that, if made public, could harm [the movant’s] business interests”); Network Appliance, Inc. v. Sun
                   18   MicroSystems, Inc., 2010 WL 841274, at *2 (N.D. Cal. Mar. 10, 2010) (finding compelling reason
                   19   to seal “in light of the confidential nature of the information” and the “competitive harm” that
                   20   would likely result “if the confidential information were disclosed”).
                   21   II.     SEALING OF DOCUMENTS CONTAINING APPLE’S CONFIDENTIAL INFORMATION
                   22           Apple asks the Court to seal various documents and portions of documents containing
                   23   Apple’s confidential, proprietary, non-public information and designated “Confidential –
                   24   Attorneys’ Eyes Only” by Apple pursuant to the Protective Order.
                   25           Specifically, Apple requests that the Court seal Exhibits B and C to the Pomeroy
                   26   Declaration and portions of Apple’s Motion for Leave to File Sur-Reply and Apple’s Sur-Reply
                   27   because those documents contain confidential information, the public disclosure of which would
                   28   cause Apple significant competitive harm. See Oracle USA, Inc. v. SAP AG, 2009 U.S. Dist. LEXIS
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                    1   71365, at *4-5 (N.D. Cal. Aug. 13, 2009) (granting motion to seal where moving party “considered
                    2   and treated the information contained in the subject documents as confidential, commercially
                    3   sensitive and proprietary” and where “public disclosure of such information would create a risk of
                    4   significant competitive injury and particularized harm and prejudice”).
                    5          First, Apple’s Motion for Leave to File Sur-Reply, Apple’s Sur-Reply, and Exhibits B and
                    6   C to the Pomeroy Declaration contain highly sensitive, confidential, non-public information related
                    7   to Apple’s iCloud data storage practices and business plans and projects, among other things. (See
                    8   Bashir Decl. ¶¶ 3, 6-9.) The public disclosure of this information could harm Apple by, for
                    9   example, providing competitors with insight into Apple’s strategic decision-making and practices.
                   10   (Id.) Based on this information, competitors could determine whether, among other things, to
                   11   implement similar tactics without investing the necessary time and resources to independently
                   12   develop their own plans and projects. (Id.) Accordingly, compelling reasons exist to seal this
                   13   information. See Am. Auto. Ass’n of N. Cal., Nev. & Utah v. General Motors LLC, 2019 WL
                   14   1206748, at *2 (N.D. Cal. Mar. 14, 2019) (Koh, J.) (finding compelling reasons to seal “information
                   15   regarding the parties’ prospective business plans, dealings and strategies”); Space Data Corp. v.
                   16   Alphabet Inc., 2019 WL 8012581, at *2 (N.D. Cal. July 24, 2019) (finding compelling reasons to
                   17   seal “confidential information about Google’s business development, practices, and strategy,
                   18   including how Google evaluates strategic partner relationships” because “[p]ublic disclosure of this
                   19   information would cause harm to Defendants”); Rodman v. Safeway Inc., 2014 WL 12787874, at
                   20   *2 (N.D. Cal. Aug. 22, 2014) (sealing “internal, nonpublic information discussing [defendant’s]
                   21   pricing strategy, business decisionmaking [sic], and financial records, which would expose
                   22   [defendant] to competitive harm if disclosed”).
                   23          Second, Apple’s Motion for Leave to File Sur-Reply, Apple’s Sur-Reply, and Exhibits B
                   24   and C to the Pomeroy Declaration contain highly sensitive, confidential, non-public information
                   25   related to Apple’s iCloud technology and trade secrets, among other things. (See Bashir Decl. ¶¶
                   26   4, 6-9.) The public disclosure of this information could harm Apple by, for example, permitting
                   27   competitors to further develop and improve their own cloud services at Apple’s expense. (Id.)
                   28   Competitors could also unfairly gain invaluable insight into how Apple’s iCloud technology works
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                    1   and what competitive plans Apple may have for its iCloud service. (Id.) Accordingly, compelling
                    2   reasons exist to seal this information. See Opperman v. Path, Inc., 2017 WL 1036652, at *3 (N.D.
                    3   Cal. Mar. 17, 2017) (finding compelling reasons to seal “confidential information about Twitter’s
                    4   products, proposed features, design concepts, and internal review processes that constitute trade
                    5   secrets”); Space Data Corp. v. X, 2017 WL 11503233, at *2 (N.D. Cal. Sept. 25, 2017) (finding
                    6   compelling reasons to seal “technical proprietary confidential information and business planning
                    7   and financial information, including trade secrets, which disclosure could economically harm
                    8   Plaintiff’s business”); Network Appliance, 2010 WL 841274, at *4-5 (finding compelling reasons
                    9   to seal “future business plans,” “detailed business and marketing information,” and trade secrets,
                   10   among other confidential information).
                   11   III.     CONCLUSION
                   12            For the reasons set forth herein and in the Bashir Declaration, Apple respectfully requests
                   13   that the Court seal (1) designated portions of Apple’s Motion for Leave to File Sur-Reply and
                   14   Apple’s Sur-Reply, reflecting Apple’s concurrently filed redactions; and (2) Exhibits B and C to
                   15   the Pomeroy Declaration in their entirety.
                   16

                   17 Dated: February 22, 2021                        COOLEY LLP
                   18

                   19                                                 /s/ Michelle C. Doolin
                                                                          Michelle C. Doolin
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                                                                      Attorneys for Defendant
                   21                                                 APPLE INC.
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 SAN FRANCISCO                                                                         APPLE’S ADMIN. MOTION TO SEAL ADMIN.
                                                                          5             MOTION FOR LEAVE TO FILE SUR-REPLY
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